Case 7:20-cv-00713-MFU-JCH Document 19 Filed 12/31/20 Page 1 of 1 Pageid#: 104
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION


  BENJAMIN CARTER,                                  Civil Action No. 7:20-cv-00713
       Plaintiff,
                                                    MEMORANDUM OPINION
  v.
                                                    By: Michael F. Urbanski
  JOSEPH ELY, et al,                                Chief United States District Judge
       Defendant(s),



        Plaintiff, proceeding pro se, filed a civil rights complaint pursuant to 42 U.S.C. §1983.

 By order entered November 30, 2020, the court directed plaintiff to submit within twenty days

 from the date of the order a statement of assets, an inmate account form, and a certified copy of

 plaintiff’s trust fund account statement for the six-month period immediately preceding the filing

 of the complaint, obtained from the appropriate prison official of each prison at which plaintiff is

 or was confined during that six-month period. Plaintiff wrote to the court several times stating

 that he did not want to proceed in forma pauperis but instead wanted to pay the full filing fee.

 He claims that he has sent a money order, but the Clerk’s Office has not received any payment of

 the filing fee and has written plaintiff several times explaining as much. Plaintiff was advised

 that a failure to comply would result in dismissal of this action without prejudice.

        More than twenty days have elapsed, and plaintiff has failed to comply with the described

 conditions. Accordingly, the court dismisses the action without prejudice and strikes the case

 from the active docket of the court. Plaintiff may refile the claims in a separate action once

 plaintiff is prepared to comply with the noted conditions. The Clerk is directed to send a copy of

 this Memorandum Opinion and accompanying Order to plaintiff.

                     31st day of December, 2020.
        ENTER: This _____                                              Michael F. Urbanski
                                                                       Chief U.S. District Judge
                                                                       2020.12.31 08:47:44
                                                  __________________________________
                                                                       -05'00'
                                                       Chief United States District Judge
